Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 1 of 52 PageID #: 705



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------X
JOHN L. JOHNSON,

                          Plaintiff,

                                                    MEMORANDUM AND ORDER
              -against-
                                                   13-CV-3745 (KAM)
CAROLYN W. COLVIN,

Commissioner of Social Security,

                  Defendant.
---------------------------------------X
MATSUMOTO, United States District Judge:

              Plaintiff John L. Johnson commenced this action on July

1, 2013 against Commissioner of Social Security Carolyn Colvin

(“Defendant”) seeking judicial review of a decision of the Social

Security Administration (“SSA”) pursuant to 42 U.S.C. § 405(g)

and/or   42    U.S.C.      § 1383(c)(3).    Plaintiff      alleges    that   he   is

entitled      to,   and    was   denied,   disability      benefits   related     to

cervical and lumbar degenerative disc disease and post-traumatic

stress disorder. (ECF No. 1, Complaint (“Compl.”) at 4.)

              Defendant has moved for judgment on the pleadings and

filed a memorandum in support. (ECF No. 22, Defendant’s Memorandum

of Law in Support of Defendant's Motion for Judgment on the

Pleadings     (“Def.      Mem.”).)     Plaintiff   filed    a   cross-motion      for

judgment on the pleadings. (ECF No. 19, Plaintiff’s Motion for

Judgment on the Pleadings (“Pl. Mot.”).) Defendant then filed a

reply brief and an opposition to plaintiff’s cross-motion. (ECF
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 2 of 52 PageID #: 706



No. 23, Reply Memorandum of Law in Support of Defendant's Motion

for Judgment on the Pleadings and in Opposition to Plaintiff's

Cross-Motion (“Def. Reply”).) This matter is now fully briefed and

the cross-motions are ripe for resolution by the court.

            For the reasons stated below, Defendant’s motion is

GRANTED and plaintiff’s motion is DENIED.

                                BACKGROUND

I.   Procedural History

            This   case    involves        plaintiff’s     application     for

Supplemental Security Income (“SSI”) filed in October 1984 as well

as his application for disability insurance benefits filed in

September 1989. The suit has an unusually lengthy history in large

part due to a class action settlement — see Stieberger v. Sullivan,

801 F. Supp. 1079 (S.D.N.Y. 1992) — that required the Social

Security Administration (“SSA”) to acquiesce in Second Circuit

precedents.    This   contributed     to    multiple     reopenings   of   the

proceedings in plaintiff’s case and placed this court in the

position of evaluating a decades-old claim for social security

benefits.

            Plaintiff first filed an application for SSI on October

26, 1984. The application was denied at the initial level and at

the reconsideration level in November 1984. Plaintiff did not

request an ALJ hearing. Plaintiff reapplied for SSI in September




                                      2
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 3 of 52 PageID #: 707



1998 and was awarded disability benefits with a disability onset

date of September 1, 1998.

            Plaintiff    also   filed       an   application   for   disability

insurance benefits on September 1, 1989, alleging a disability

that began on February 9, 1984. (Tr. 79.) Plaintiff alleged that

he was disabled due to back injury, neck injury, knee injury,

migraine headaches, blackouts, and poor vision caused by seven

accidents. (Tr. 79.) The application was denied initially and on

reconsideration. (Tr. 92, 104.) Plaintiff subsequently appeared

with counsel before ALJ Jonathan Jacobs. (Tr. 43–60.) On April 3,

1991, ALJ Jacobs found plaintiff not disabled prior to September

30, 1990, plaintiff’s date last insured, and through the date of

the decision. (Tr. 12, 352.) 1 On December 26, 1991, the Appeals

Council remanded the case to permit plaintiff to cross-examine Dr.

C. Sharma, a neurological consultative examiner. (Tr. 24, 352.)

            On remand, however, at a hearing in April 1992, ALJ

Jacobs denied plaintiff’s request to cross-examine Dr. Sharma

because a second neurological consultative examination had been

obtained, and plaintiff’s counsel agreed. (Tr. 65.) In a decision

dated May 15, 1993, the ALJ subsequently found plaintiff not

disabled and the Appeals Council denied review. (Tr. 10-19, 352.)



1 Certain decisions throughout the history of this litigation – including this
one by ALJ Jacobs – could not be located by the parties. (See Def. Mem. at 4
nn. 4-5, 5 n.7.) Where a decision is absent from the record, the court has used
other record evidence to substantiate the relevant procedural history.


                                        3
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 4 of 52 PageID #: 708



Plaintiff sought review of this decision in the district court,

which remanded the case for further administrative proceedings

pursuant to the Stieberger settlement. (Tr. 244.)

           The Stieberger settlement, as the Second Circuit has

explained,

     was developed as a remedy for the effects of the SSA’s
     “non-acquiescence policy,” under which ALJs were
     essentially told to disregard the law of this Circuit on
     certain issues when adjudicating disability claims. The
     settlement agreement required the Commissioner to
     provide a New York statewide class with notice and
     opportunity to request the reopening of, and new
     decision on, disability claims that were denied or
     terminated at any administrative level between October
     1, 1981 and October 17, 1985, and were decided at the
     administrative law judge or Appeals Council level
     between October 7, 1981 and July 2, 1992.

Shaw v. Chater, 221 F.3d 126, 136 (2d Cir. 2000). Under the terms

of   the   Stieberger    settlement,     the   period    for   evidentiary

development (the “Development Period”) generally begins 48 months

prior to the date of the SSA’s receipt of a class member’s request

for Stieberger reopening. See Nolfi v. Astrue, No. 10-CV-349, 2011

WL 3475852, at *3 (W.D.N.Y. Aug. 9, 2011); Stieberger, 801 F. Supp.

at 1081, 1091; see also Social Security Administration, Office of

Hearings and Appeals, Litigation Law Manual (“HALLEX”) I–5–4–

13.VIII.B.1–3. The Development Period ends, as relevant here, when

the plaintiff becomes entitled to social security disability or

SSI benefits or payments. See Nolfi, 2011 WL 3475852, at *3; HALLEX

I–5–4–13.VIII.B.3. The parties appear to agree that the applicable



                                     4
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 5 of 52 PageID #: 709



Development    Period     began   on    May    1,    1989    —    48    months    before

plaintiff filed his request to intervene in the Stieberger class

action – and ended on August 31, 1998, the day before he became

entitled to SSI benefits. (Tr. 413; see also Def. Mem. at 2-3 nn.2-

3; Compl. at 6.)

            After   the    case   was    remanded       by   the       district    court

pursuant to Stieberger, plaintiff was to be given the opportunity

to cross-examine Dr. Sharma, or Dr. Sharma’s report would be

excluded from consideration. (Tr. 244.) The Appeals Council then

vacated the ALJ’s decision on February 25, 1993, and remanded the

case for further administrative proceedings consistent with the

district court’s order. (Tr. 239.)

            On July 30, 1993, a new ALJ found plaintiff not disabled

prior to the date last insured and through the date of decision.

(Tr. 267-77.) Dr. Sharma did not appear at the hearing, so the ALJ

did   not   consider    his   report.    (Tr.       271.)    The   Appeals       Council

declined jurisdiction, and plaintiff challenged this round of

decisions again in the district court. (Tr. 353). The district

court remanded the case for further administrative proceedings,

principally    so   that      plaintiff       could     undergo        a   psychiatric

consultative    evaluation.       (Tr.       345-47.)       The    Appeals       Council




                                         5
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 6 of 52 PageID #: 710



subsequently issued a remand order on May 22, 1996 for further

proceedings consistent with the district court’s order. (Tr. 352.)

             After conducting a supplemental hearing, a third ALJ

issued a decision on October 20, 1997, finding plaintiff not

disabled. (Tr. 349-67.) The Appeals Council remanded the case for

further administrative proceedings, explaining that the ALJ had

not complied with its May 22, 1996 remand order because the order

apparently did not contain the district court’s instruction to

obtain a psychiatric examination of plaintiff. (Tr. 377.) After a

psychiatric consultative examination was performed, the same ALJ

on January 25, 1999 again found plaintiff not disabled prior to

his date last insured. (Tr. 417.) Plaintiff did not seek review of

that decision.

             On May 30, 2008 – nine years later – the Commissioner

issued   a   reconsideration   determination     concerning    plaintiff’s

October 26, 1984 and September 1, 1989 applications for SSI and

disability insurance benefits, respectively. (Tr. 413-14.) The

Commissioner, acting pursuant to a court order in the Stieberger

suit, reviewed evidence in the Development Period and determined

that the prior denials of plaintiff’s applications had been in

accordance with Second Circuit precedent. (Tr. 413.) Plaintiff

requested a hearing before a fourth ALJ, who dismissed the request

on the grounds that a Stieberger review had already been conducted

by the third ALJ, and res judicata applied to that ALJ’s January


                                     6
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 7 of 52 PageID #: 711



25, 1999 decision. (Tr. 417.) The Appeals Council in July 2011

remanded     the   case   for   a   new       hearing,   explaining    that   the

Commissioner’s May 30, 2008 Stieberger review decision was a new

determination; consequently, res judicata did not apply for the

Development Period (May 1, 1989 through August 31, 1998). (Tr.

425-26.)

             A fifth ALJ subsequently considered plaintiff’s October

26, 1984 and September 1, 1989 applications, and reviewed evidence

in the record relating to the Development Period. (Tr. 311, 478.)

Plaintiff was represented by counsel during this proceeding. (Tr.

311.) On December 30, 2011, this ALJ found plaintiff not disabled

during the Development Period. (Tr. 319.) The Appeals Council

denied     plaintiff’s    request   for       review,    rendering    the   ALJ’s

decision final. (Tr. 304-07.) Plaintiff subsequently commenced

this action.

II.   Factual Background

      A.     Plaintiff’s History

             Plaintiff was born in 1955. (Tr. 47.) From 1973 to 1984,

he was employed as an emergency medical technician (“EMT”). 2 (Tr.

116, 541.) Plaintiff testified in December 2011 that he also had

worked part-time (about 25 hours per week) as a nursing home



2 There are some inconsistencies in plaintiff’s accounts of his work history.
For example, he reported in a December 2011 hearing that he worked as an EMT
from 1970 or 1971 until 1988 or 1989. (Tr. 478, 483; see also Tr. 232
(plaintiff’s statement that he retired in 1985).)


                                          7
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 8 of 52 PageID #: 712



orderly concurrently with his employment as an EMT. (Tr. 483-84.)

Plaintiff also testified that he worked for a few years in the

1980s as a minister, referred to himself as “Rev. John Johnson,”

and received — for a time, at least — a “stipend as [a] priest.”

(Tr. 124, 488.) In the December 2011 ALJ hearing, plaintiff stated

that he worked as a minister between 1984 and about 1988. (Tr.

488.) In 1993, he testified that he had worked in 1986 as a

consultant at a homeless shelter. (Tr. 280, 298-99.) He earned a

G.E.D. in 1975. (Tr. 116, 391.)

           In   a   disability   report      signed   on   August   10,   1989,

plaintiff stated that he stopped working as an EMT in February

1984 because of blackouts, vision problems, severe neck and back

pain, migraines, fainting spells, and dizziness. (Tr. 112.) He

also stated that he had been in five vehicular accidents (two while

working as an EMT) and had fallen down a flight of stairs while

carrying a patient. (Tr. 114, 117.) He wrote that his household

tasks   included    light   walking,       rehabilitative    exercises,    and

breathing exercises, and that his recreational activities included

reading the Bible, praying, and meditation. (Tr. 115.)

           In a reconsideration disability report from March 1990,

plaintiff stated that he had been in a sixth motor vehicle accident

in August 1989. (Tr. 128.) He experienced “severe pain, blackouts,

migrain[es], [and] vision trouble.” (Id.) It was painful for him

to walk, defecate, and engage in sexual intercourse. (Tr. 130.) In


                                       8
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 9 of 52 PageID #: 713



August 1990, plaintiff reported that he still experienced severe

pain, and could not bend or lift. (Tr. 134.) His condition had

worsened, he wrote. (Id.)

              Between     December   1990    and    February    1997,   plaintiff

reported taking Robaxin, Voltaren, Valium, Tylenol with codeine,

Orudis, Motrin, Naprosyn, Trilisate, Toradol, Codeine, Flexeril,

Claritin, and Prozac. (Tr. 214, 232, 252, 539.)

              At a hearing held in January 1991, plaintiff stated that

he lived with his wife and three minor children. (Tr. 47.) He

explained that he stopped working because he had back and neck

pain, problems getting around, and his eyes were “blacking out.”

(Tr.   48.)    He   saw   a   chiropractor    and    physical    therapist,   but

medication was most effective in dealing with his pain. (Tr. 56.)

He often used a back brace, had walked with a cane for the past

year, and before that had used crutches for three years. (Tr. 49,

53.) His wife, he said, helped him dress and did all the household

chores. (Tr. 50-51.) He went to church, but generally stayed home,

watched the news, read the Bible, and helped his children with

their homework. (Tr. 51.) He testified that his driver’s license

had been taken away because of the blackouts, and he did not take

buses or subways. (Tr. 50, 56.) He stated that he could walk for

five or 10 minutes, stand for 15 to 20 minutes, sit for 20 to 25




                                        9
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 10 of 52 PageID #: 714



minutes, and carry five to 15 pounds. (Tr. 50.) A physician, he

explained, told him not lift anything over 20 pounds. (Tr. 52.)

           At an April 1992 hearing, plaintiff testified that his

condition had worsened. (Tr. 66.) He explained that he could not

walk or stand for as long a period of time and, although the pain

medication he took helped, certain medications made him nauseous

and dizzy. (Tr. 66-67, 71.) He stated that he was still not

working, had stopped going to church, and experienced pain when he

tried to move around. (Tr. 67, 70.) He felt suicidal at times and

had been depressed for years since he stopped working. (Tr. 73–

75.)

           Plaintiff testified in a July 1993 hearing that he was

homeless, but living with family and friends. (Tr. 280, 283.) He

was receiving a pension of $380 per month since he retired as an

EMT on disability in 1984. (Tr. 285.) Plaintiff said his back,

neck, headaches, and vision problems prevented him from working.

(Tr. 286.) At the hearing, he wore a cervical collar, and explained

that he had stopped using a cane in the past few months. (Id.) The

medications he took helped with the pain, but had side effects of

nausea, vomiting, and drowsiness. (Tr. 287.) His vision problems

prevented him from reading or watching television much, and he

stated that he had constant headaches since 1984 as well as

blackouts and migraine headaches. (Tr. 290-93.) His lower back

pain had improved, he testified, but his eyes and the headaches


                                     10
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 11 of 52 PageID #: 715



had worsened. (Tr. 297.) He remained depressed about not being

able to take care of his wife and children. (Tr. 294-95, 298.)

            At the December 2011 hearing, plaintiff stated that he

eventually had to stop working because of the several accidents

discussed above. (Tr. 484-89.) During the Development Period, he

had seen orthopedists, chiropractors, and a neurologist, and had

undergone physical therapy. (Tr. 485, 488.) He never had surgery.

(Tr. 485.) The medications he took — muscle relaxers and pain

killers — had side effects that made him feel ill. (Tr. 490.)

Plaintiff said that he had returned to work after several of the

accidents (Tr. 485-87), but he could not work after he retired on

disability because he was experiencing constant blackouts. (Tr.

488-89.) He could not sit, stand, or walk (Tr. 489.) He also stated

that he had post-traumatic stress disorder, and in 1989 and “some

of   the   ‘90s”   had   seen   psychiatrists,   psychologists,    and   his

minister. (Tr. 489-90.)

            He had lived with his wife and children until about 10

years earlier. (Tr. 490.) He stated that he had gone back to work

after 1998 because he had received integrative holistic medical

treatment. (Tr. 491.) At the time of the hearing, he was receiving

SSI of $173 per month in addition to his pension. (Tr. 492.)




                                     11
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 12 of 52 PageID #: 716



      B.   Medical    Evidence    During   the   Stieberger    Development

           Period

           1.    Treating Physicians

                 a.    Dr. Gayle Whittaker

           Dr. Gayle A. Whittaker, D.C., a chiropractor, first

treated plaintiff in March 1983. (Tr. 141.) Her earliest treatment

of plaintiff in the Stieberger Development Period occurred in June

1989. (Tr. 141, 515.) In a report dated June 15, 1990, she

discussed plaintiff’s history and circumstances. (Tr. 137-46.) In

1989, plaintiff had complained of pain in the back of his head and

neck, lower back pain radiating out into his arms and legs and

left temple, blurry vision, ringing in his ears, headaches every

other day, and muscle jerking and numbness in his arms and legs.

(Tr. 141.) Dr. Whittaker referred to lumbar x-rays taken in 1983

and 1986 and a 1986 lumbar CT-scan as showing sacralization of L5,

spina bifida of L5, rotation of L1-L4, and Schmorl’s node at L4-

L5. (Tr. 144.)

           On examination, plaintiff had decreased left triceps and

bicep reflexes. (Tr. 141.) His left thigh measured 1/2 inch longer

than his right thigh, and his right calf was 1/4 inch longer than

his left calf. (Id.) He had full ranges of motion in his cervical

spine, with pain, but flexion of his lumbar spine was limited to

45 degrees (while the normal range of motion should be 90 degrees)

with pain. (Tr. 143.) Dr. Whittaker determined that plaintiff


                                     12
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 13 of 52 PageID #: 717



suffered from cervical subluxation complex, traumatic cervical

disc syndrome, and traumatic lumbar disc syndrome. (Tr. 141.) Dr.

Whittaker    stated   that    plaintiff    had    been   totally   disabled

throughout his treatment with her. (Tr. 144.)

            In a disability evaluation from July 1989, Dr. Whittaker

wrote that plaintiff had a total spinal impairment that was subject

to flare-ups with or without work activity. (Tr. 148.) His severe

back pain was relieved by medication, muscle relaxants, pain

killers, chiropractic treatment, topical preparations, Ben-Gay,

and tiger balm. (Id.) Plaintiff experienced severe pain when

walking for more than one hour, lifting more than 20 pounds,

repetitively lifting up to 15 pounds, and bending, stooping,

squatting, or kneeling. (Id.) He had moderate pain when twisting

and turning or standing for more than one hour (id.), and only

slight pain if pushing or pulling up to 50 pounds, reaching

overhead, reaching out, grasping or manipulating small objects,

climbing a flight of stairs, or driving. (Id.) Dr. Whittaker also

explained that plaintiff, while limited from doing heavy lifting,

heavy work, and light work, could perform semi-sedentary work and

sedentary work. (Id.)

            In   a    form    submitted     for    plaintiff’s     worker’s

compensation claim dated May 23, 1990, Dr. Whittaker stated that

plaintiff had not been treated since August 1989. (Tr. 147.) Spinal




                                     13
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 14 of 52 PageID #: 718



manipulation was required only on a symptomatic basis, she wrote,

adding that plaintiff was permanently partially disabled. (Id.)

            In January 1991, Dr. Whittaker reported that plaintiff’s

chiropractic treatment in her office had consisted of spinal

manipulation from March to December 1983, February to November

1987, and June 1988 to August 1989. (Tr. 218.) She explained that

“[t]he patient’s condition has changed little during this time,”

and that plaintiff was “totally and permanently disabled.” (Id.)

            In a September 1991 letter, Dr. Whittaker stated that

plaintiff   had     received   chiropractic    treatment     three    times   in

January 1991, after an August 1989 automobile accident. (Tr. 220.)

Dr. Whittaker wrote that plaintiff had been totally disabled at

that time. (Id.)

            About    six   years    later,   after   a   February    1997   auto

accident, plaintiff returned to Dr. Whittaker for chiropractic

treatment. (Tr. 321, 330.) He complained of pain in the neck,

shoulder, arm and hand, mid-back, lower back, hip, and leg. (Tr.

324.) Dr. Whittaker determined that his cervical and lumbar ranges

of motion were restricted. (Id.) He was experiencing muscle spasms

in his cervical, thoracic, and lumbar vertebrae. (Id.) There was

also a loss of strength in plaintiff’s right hand, and his reflexes

were diminished in the triceps, biceps, Achilles, and wrist. (Id.)

            Dr. Whittaker diagnosed cervical brachial neuralgia,

thoracic    sprain/strain,         sciatica,   headache,     and     cervical,


                                       14
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 15 of 52 PageID #: 719



thoracic, and lumbar subluxation. (Tr. 326.) She stated that in an

eight-hour day, plaintiff could sit for three hours, stand/walk

for two hours, frequently lift up to five pounds, occasionally

lift and carry up to 20 pounds, and occasionally bend, climb steps,

and reach. (Tr. 327.) He could deal with low levels of stress.

(Tr. 328.) Dr. Whittaker stated that plaintiff had been totally

disabled since 1983, and unable to return to his former work duties

or perform full-time work. (Tr. 321, 326.)

           In a March 1997 letter, Dr. Whittaker reiterated that

plaintiff “continues to be totally disabled and unable to return

to his former work duties.” (Tr. 321.) In an August 1998 letter,

Dr. Whittaker recited plaintiff’s history and stated that he had

been classified by Workers’ Compensation as permanently disabled

based on a February 1984 work accident. (Tr. 380.)

                 b.     Dr. Subbaraju Polepalli (Staten Island Medical
                        Group HIP)

           Plaintiff had a routine check-up with Dr. Subbaraju

Polepalli,   M.D.,    in   July   1989    and   saw   the   doctor   again   for

temporary minor issues sporadically in 1989 and early 1990 (Tr.

195-96, 565, 575.) On August 22, 1990, plaintiff reported to Dr.

Polepalli that he felt well and was attending “pre-med” in St.

Lucia.   (Tr.   237.)   On   December     24,   1990,   plaintiff    told    Dr.

Polepalli that he was a medical student in Jamaica and had returned

for the holidays. (Tr. 238.) Plaintiff complained of lower back



                                     15
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 16 of 52 PageID #: 720



pain, and the doctor diagnosed a history of discogenic disease.

(Id.) Dr. Polepalli stated in February 1992 that plaintiff had

been seen in his office by other physicians in January and February

1992. (Tr. 233.) That doctor prescribed Butalbital and referred

plaintiff for physical therapy due to a history of discogenic

disorder. (Tr. 224, 570.) In January 1992 Dr. Polepalli prescribed

Orudis and Tylenol #3 and in February 1992 another doctor in Dr.

Polepalli’s office referred plaintiff for physical therapy. (Tr.

225-26, 233.)

           Dr. Polepalli wrote a letter in October 1996 describing

neck and back pain plaintiff was suffering as a result of a fall

on ice in January 1996. (Tr. 329.) Dr. Polepalli stated that

plaintiff had been seen by various doctors in his office eight

times throughout 1996. (Id.) In an April 1997 letter, Dr. Polepalli

stated that plaintiff had been disabled and unable to work since

February 1984. (Tr. 323.) In an August 1998 letter, Dr. Polepalli

stated that plaintiff had been seen by a variety of doctors at his

office 11 times throughout 1997 and 1998. (Tr. 382.)

           A Staten Island Medical Group HIP administrator wrote

letters in September 1992 and June 1993 indicating that plaintiff

had been seen at her office and treated for complaints of lower

back   pain    with   multiple     internists,     orthopedists,     and   a

neurologist in her group between 1982 and 1993. (Tr. 249-51.)




                                     16
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 17 of 52 PageID #: 721



            Another Staten Island Medical Group HIP doctor, Dr. M.

Bunag, M.D., completed a form on March 30, 1997 stating that

plaintiff had been unable to work since March 30, 1985 but would

be able to return to work on April 2, 1998. 3 (Tr. 386.) Dr. Bunag

wrote that plaintiff was totally and permanently disabled due to

a back injury. (Id.) He diagnosed chronic cervical and lumbar

syndrome beginning in 1987. (Id.)

             In a note dated July 13, 1998, and addressed to the

Brooklyn Union Gas Company, Dr. J. Hayles, M.D., of the Staten

Island Medical Group HIP stated that plaintiff had been seen that

day and could return to work on July 15, 1998. (Tr. 379.)

            2.    Consulting Physicians

                  a.    Dr. Bruce Reitberg

            In December 1989, Dr. Bruce Matthew Reitberg, M.D.,

performed an orthopedic consultative examination on plaintiff.

(Tr. 173-76.) Plaintiff recited his accident and work history, and

complained of headaches, blurry vision, non-radiating neck pain,

and low back pain that radiated to his right lower extremity. (Tr.

174.) Dr. Reitberg stated that plaintiff’s “general health is

good.” (Id.) He wore a cervical collar, a lumbosacral corset, and


3 Defendant suggests that the years on the form were filled in with a different
handwriting than was used on the month and day. (See Def. Mem. at 22 nn. 11-
12.) Defendant proposes that Dr. Bunag likely intended to write that the date
of disability was March 30, 1997 (the date he observed plaintiff) and to write
the date he could return to work as April 2, 1997, three days after the form
was allegedly completed. (See id.) Plaintiff did not address this issue in his
briefing.


                                      17
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 18 of 52 PageID #: 722



used a cane. (Id.) During the examination, plaintiff was alert and

fully oriented, and there was “normal sensation about the face and

neck.” (Id.) As to plaintiff’s neck, there was a slight restriction

of range of motion, and tenderness, mild spasm, and complaints of

pain.     (Id.)   A     neurological     examination        revealed   “decreased

sensation on the dosum of the left forearm and the left lateral

thigh and left lateral calf.” (Id.)

            Dr. Reitberg opined that plaintiff had “post concussion

syndrome.” (Tr. 176.) He saw evidence of a herniated intervertebral

discus with evidence of right sciatica, and observed “diminished

sensation, diminished strength, atrophy, positive sciatic tension

tests, and sensory changes.” (Id.) He stated that plaintiff was

“totally and permanently disabled.” (Id.) Dr. Reitberg stated that

plaintiff could not sit for longer than 40 minutes or stand for

longer than 20 minutes; he could walk approximately four to five

blocks;    and    he    could   not   lift    more   than    five   pounds   on   an

occasional basis. (Id.)

                   b.      Dr. Joseph Fulco

            Dr.        Joseph   Fulco,       M.D.,   consultatively      examined

plaintiff on January 3, 1990. (Tr. 177-79.) Plaintiff reported

some improvement from visiting a chiropractor two to three times

per week since last seeing Dr. Fulco in 1987. (Tr. 177.) Plaintiff

told Dr. Fulco that a recent CT-scan had shown a herniated disc in

his neck and lower back. (Id.) Plaintiff complained of constant


                                         18
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 19 of 52 PageID #: 723



pain in his neck, which increased on any movement. (Id.) He had

constant, severe pain in his lower back which radiated into both

legs. (Tr. 178.) Plaintiff reported that he used a cane in his

right hand at all times, and was able to walk about half of a block

before stopping. (Id.) He told Dr. Fulco that he spent time at

home, but occasionally took short drives, and rarely cooked and

shopped. (Id.)

           Dr. Fulco examined plaintiff, and noted that he walked

slowly with a limp of the right leg. (Id.) He did not attempt to

walk on his heels and toes due to pain. (Id.) He rose from a chair

slowly. (Id.) An examination of the spine showed cervical rotation

of 45 degrees in either direction, and flexion and extension were

decreased by about 20 degrees each. (Id.) Plaintiff complained of

“pain at the extremes of all these motions.” (Id.) Plaintiff

complained of lower back pain in the sitting position. (Id.) He

exhibited full ranges of motion in the shoulders, elbows, and

wrists. (Id.) Motor strength, Dr. Fulco reported, was about 4/5,

there was no evidence of atrophy, there was no sensory loss, and

all reflexes were normal. (Id.) Plaintiff also had full range of

motion of the hips, knees, and ankles. (Tr. 179.) Dr. Fulco

diagnosed a herniated intervertebral disc of lumbosacral spine and

a herniated disc of cervical spine by history. (Id.) Dr. Fulco




                                     19
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 20 of 52 PageID #: 724



noted on the report that plaintiff refused x-rays, but gave no

further explanation. (Id.)

                       c.     Dr. C. Sharma

            Plaintiff was consultatively examined by neurologist C.

Sharma, M.D., on June 23, 1990. (Tr. 183-86.) Plaintiff reported

pain in his neck, low back, right leg, and left knee. (Tr. 183.)

He said he had been using a cane for three years, and was taking

Robaxin and Motrin. (Id.) Dr. Sharma reported that plaintiff’s

memory, calculations, and language were intact. (Id.) His vision,

facial,    gag,    palatal,       and    tongue   movements,     as    well      as    his

sensation and motor strength, were normal. (Id.) Dr. Sharma pointed

out that plaintiff walked with a cane, but opined that he did not

require it. (Id.) Dr. Sharma noted that plaintiff limped, but

suggested       that    his    gait   was    “related    to   pain    and   is    not    a

neurological gait.” (Id.) Dr. Sharma stated that plaintiff had no

neurological deficit, and diagnosed “[m]ultiple pain syndrome.”

(Tr.    184.)    Dr.    Sharma    also      determined   that   plaintiff        had    no

restrictions in walking, handling objects, bending, pushing and/or

pulling, seeing, hearing, speaking, sitting, lifting, carrying, or

standing. (Tr. 185-86.) The doctor would not give a range of

restrictions based solely on plaintiff’s subjective pain. (Tr.

185.)




                                             20
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 21 of 52 PageID #: 725



                    d.   Dr. Bernard Goldberg

            Ophthalmologist Dr. Bernard Goldberg, M.D., performed a

consultative examination on July 5, 1990. (Tr. 180-82.) Plaintiff

reported that his eye ached and that he saw floating spots. (Tr.

180.) Plaintiff had uncorrected visual acuity of 20/60 in the right

eye, and 20/200 in the left eye. (Id.) Refraction showed hi-myopia

in both eyes with astigmatism, with corrected visual acuity of

20/40+ in each eye for distance. (Id.) (20/20 is considered normal;

20/200 is often considered legally blind. See E.E.O.C. v. United

Parcel Serv., Inc., 306 F.3d 794, 798 (9th Cir.) opinion amended

on denial of reh’g, 311 F.3d 1132 (9th Cir. 2002).) Plaintiff’s

pupils   were   normal    and    reacted     promptly   to   light   and    ocular

pressure.    (Tr.     180.)     Dr.   Goldberg   diagnosed      hi-myopia    with

astigmatism, multiple head injuries, and cerebral concussion, and

recommended that plaintiff undergo a neurologic evaluation. (Tr.

180-81.)

                    e.   Dr. L. Travis

            Neurologist       Dr.     L.     Travis,    M.D.,     conducted     a

consultative examination on plaintiff in February 1992. (Tr. 227-

28.) Plaintiff complained of pain while defecating and when walking

or bending, and pain in both legs. (Tr. 227.) He reported that he

felt “weak all over, [and] gets dizzy spells, blurred vision and

constant headaches.” (Id.) During a physical examination, Dr.

Travis observed that his memory and language were normal, his


                                        21
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 22 of 52 PageID #: 726



vision was intact, and his hearing was normal. (Id.) Dr. Travis

reported that plaintiff’s restriction in neck and lumbar spine

movement was “voluntary.” (Id.) He had “no trouble bending over to

put on his shoes” or “getting on and off the exam table.” (Id.)

Dr. Travis wrote that plaintiff’s “gait was very slow and somewhat

bizarre. At times one leg was favored and at other times the other

leg   was   favored.    [Dr.   Travis]        could   not    detect   any   organic

disturbance to his gait.” (Id.) Dr. Travis ordered an x-ray, but

plaintiff refused. (Tr. 228.)

            During his examination, Dr. Travis found that plaintiff

had no trouble sitting. (Tr. 229.) He could lift up to 15 pounds,

carry up to 25 pounds, stand up to 15 minutes before becoming

dizzy, walk up to one block, push or pull up to 25 pounds, and

could see, hear, and speak normally. (Tr. 230.) In addition, Dr.

Travis wrote that plaintiff had no trouble bending or handling

objects. (Id.)

                 f.     Dr. Robert Goldstein

            Psychiatrist Dr. Robert Goldstein, M.D., consultatively

examined    plaintiff    in    January        1996.   (Tr.   533-37.)   Plaintiff

reported that he had not worked since 1984, and that he had become

socially withdrawn. (Tr. 534.) At the time of the examination,

plaintiff was living with friends because he was unable to maintain

his own residence. (Id.) Because of his chronic back pain and

depression, plaintiff was unable to shop, cook, or clean. (Id.) He


                                         22
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 23 of 52 PageID #: 727



said he had received psychiatric counseling some years earlier in

conjunction with orthopedic treatment for his back problems and

other pain. (Tr. 534-35.) Plaintiff told Dr. Goldstein that he had

frequent migraines of moderate severity and visual problems that

limited his ability to read or watch television. (Tr. 535.) At the

time   of   the   examination,   he   was   taking   “Motrin,   a   codeine-

containing analgesic, and Valium.” (Id.)

            Dr. Goldstein also evaluated plaintiff’s mental state.

(Tr. 535–36.) He observed that plaintiff appeared depressed and

walked with some difficulty. (Tr. 535.) His anxiety level was high,

Dr. Goldstein wrote, and his sleep was fitful. (Id.) In addition,

his weight had fluctuated. (Id.) Although he had not attempted to

hurt himself, he had “passive suicidal ideation.” (Id.) He felt

“guilty and worthless, because he [could not] function or support

his loved ones.” (Id.) He was forgetful and had short-term memory

problems secondary to depression, Dr. Goldstein reported. (Id.)

            Dr. Goldstein concluded that plaintiff suffered from

dysthymic disorder, a “serious psychiatric condition.” (Tr. 536.)

This is a “chronic mood disorder or mental depression” that was

chronic and progressively deteriorating; in addition, it was very

likely permanent and irreversible. (Id.) Dr. Goldstein wrote that

plaintiff had been totally disabled since the mid-1980s and could




                                      23
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 24 of 52 PageID #: 728



not “work in any capacity as a result of his disabling condition.”

(Id.)

                       g.    Dr. Jung Hahn 4

                Psychiatrist       Dr.   Jung   Hahn,    M.D.,      consultatively

examined plaintiff in October 1998, shortly after the end of the

relevant Stieberger Development Period (August 31, 1998). 5 (Tr.

390-92.) Plainitff stated that he was homeless, and had no money

or place to stay. (Tr. 390.) He stated that he was sick and tired,

and cried frequently. (Id.) He also stated that he would sometimes

drink alcohol, which helped him sleep. (Tr. 391) He complained of

headaches, back and neck pain, and generalized muscle aches, and

said he could not work because of his physical problems. (Tr. 390-

91.) Dr. Hahn wrote that plaintiff was cooperative, and his speech

was coherent. (Tr. 391.) Plaintiff denied experiencing delusions,

but he felt that people were following him and listening to him

when     he    used    public   telephones.     (Tr.   392.)   He   denied   active

suicidal thoughts. (Id.) His recent and remote memory, Dr. Hahn

noted,        were    good   and   his   intellectual     functioning    appeared


4   The ALJ mistakenly referred to Dr. Hahn as “Dr. Slowe.” (Tr. 317-18.)

5 Although Dr. Hahn examined plaintiff after the expiration of the Development
Period, his report is still valuable to the extent it can be used to evaluate
plaintiff’s alleged disability during the Development Period. See Peralta v.
Barnhart, No. 04-CV-4557, 2005 WL 1527669, at *13 (E.D.N.Y. June 22, 2005)
(“Thus, although the report is dated after the ALJ’s decision, the ALJ may still
properly consider it to the extent it sheds light on [the claimant’s] disability
during the relevant period.” (citing Lisa v. Sec’y of Dep't of Health & Human
Servs., 940 F.2d 40, 44 (2d Cir. 1991))).




                                          24
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 25 of 52 PageID #: 729



average. (Id.) His attention span and concentration were normal,

as were his insight and judgment. (Id.)

             Dr. Hahn did not make any mental diagnoses, but assessed

generalized muscle aches. (Id.) He stated that plaintiff was

capable of caring for his activities and personal needs, and that

his socialization and interests were limited. (Id.) Dr. Hahn

determined      that     plaintiff    was    able    to    perform    work-related

activities, including simple manual work. (Id.)

           3.      Other Evidence

                   a.      Residual Functional Capacity Assessments

           State agency medical consultant Dr. F. Randall, M.D.,

stated in a March 1990 form that plaintiff had no exertional

limitations. (Tr. 83-91.) Dr. Randall wrote that plaintiff could

frequently      climb,     balance,    stoop,      and    kneel,   and    he   could

occasionally crouch and crawl. (Tr. 86.)

           In July 1990, state agency medical consultant Dr. H.

Shapiro, M.D., found that plaintiff could occasionally lift and/or

carry up to 50 pounds and frequently lift and/or carry up to 25

pounds. (Tr. 97.) He could stand and/or walk as well as sit with

normal breaks for about six hours in an eight-hour workday. (Id.)

He could push and pull without limitations. (Id.) In addition, he

could occasionally climb and balance, but could never stoop, kneel,

crouch, or crawl. (Tr. 98.) He had no manipulative, communicative,

or   environmental       limitations.       (Tr.    99-100.)   With      respect   to


                                        25
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 26 of 52 PageID #: 730



plaintiff’s vision, Dr. Shapiro stated that his far acuity, depth

perception, accommodation, and color vision were unlimited, but

his near acuity and field of vision had some limitations. (Tr.

99.)

                     b.    Vocational Expert

              Vocational expert (“VE”) Edna F. Clark testified at

plaintiff’s hearing on December 5, 2011. (Tr. 476, 493-99.) The VE

classified plaintiff’s past relevant work as an EMT as medium

skilled work and his work as an orderly as heavy, semi-skilled

work. (Tr.      494.)     The   ALJ   posed    a    hypothetical       individual   of

plaintiff’s age, education, and work experience, who could lift up

to    20    pounds   occasionally,      lift       or    carry    up   to   10   pounds

frequently, stand or walk for approximately six hours in an eight-

work workday, and sit for approximately six hours in an eight-hour

workday with normal breaks. (Tr. 494-95.) The individual could

occasionally climb, balance, stoop, kneel, crouch, and crawl, and

had    no   manipulative,       environmental,          visual,   or   communicative

limitations. (Tr. 495.) The work would be in a low-stress job with

only occasional decision-making required. (Id.)

              The VE explained that such an individual could not

perform plaintiff’s past relevant work as an EMT or orderly, but

could perform a number of light, unskilled jobs including cafeteria

attendant (with 90,000 jobs nationally and 8,200 jobs locally),

small parts assembler (with 27,000 jobs nationally and 5,000 jobs


                                         26
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 27 of 52 PageID #: 731



locally), and cashier (with 300,000 jobs nationally and 9,000 jobs

locally). (Tr. 495-96.)

              The ALJ then added requirements to the hypothetical: the

work would be limited to simple routine repetitive tasks, there

would only be occasional interaction with the public, and there

would be a sit/stand option that would allow the person to sit or

stand alternatively at will provided they were not off task more

than 10 percent of the work period. (Tr. 496.) The VE testified

that the hypothetical individual could perform unskilled sedentary

work as a surveillance systems monitor (with 34,000 jobs nationally

and   1,900    locally)   or     a    callout    operator    (with    7,000    jobs

nationally and 1,100 locally). (Tr. 497.) The VE explained that

the individual could also perform work as an “entry-level clerical

worker.” (Id.)

                                     DISCUSSION

              Plaintiff essentially presents five arguments in favor

of remand. First, he argues that the vocational expert lacked a

basis   for    her   testimony       about    employment    numbers   during   the

Development Period. (Pl. Mot. at 4.) Second, he argues that a

consulting psychiatrist failed to provide a list of medical records

that he reviewed when drafting his report. (Id.) Third, he states

that the ALJ inappropriately discounted his psychiatric condition.

(Id. at 4-5) Fourth, he argues that the ALJ improperly considered

a neurologist’s report that should have been excluded. (Id. at 5.)


                                         27
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 28 of 52 PageID #: 732



Finally, he contends that the ALJ’s decision to give no weight to

his treating chiropractor’s opinion warrants remand. 6 (Id.) The

court will consider these arguments in turn.

I.    Applicable Legal Standards

      A.    Standard of Review

            In reviewing the Commissioner’s final decision under 42

U.S.C. §§ 405(g) and 1383(c)(3), a district court reviews the

administrative      transcript      to        “determine   whether     there   is

substantial evidence supporting the Commissioner’s decision and

whether the Commissioner applied the correct legal standard.”

Machadio v. Apfel, 276 F.3d 103, 108 (2d Cir. 2002) (citation

omitted). Substantial evidence means “more than a mere scintilla.

It means such relevant evidence as a reasonable mind might accept

as adequate to support a conclusion.” Richardson v. Perales, 402

U.S. 389, 401 (1971); see also Halloran v. Barnhart, 362 F.3d 28,

31 (2d Cir. 2004).

            An evaluation of the “substantiality of the evidence

must also include that which detracts from its weight.” Williams

ex rel. Williams v. Bowen, 859 F.2d 255, 258 (2d Cir. 1988)

(citation omitted). The reviewing court may not “substitute its

own   judgment   for   that    of   the       Secretary,   even   if   it   might

justifiably have reached a different result upon a de novo review.”


6 Though plaintiff is represented by an attorney in this suit, he does not cite

to the record or to any case law directly supporting his arguments. (Pl. Mot.
at 4-5.)


                                         28
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 29 of 52 PageID #: 733



Jones v. Sullivan, 949 F.2d 57, 59 (2d Cir. 1991) (internal

quotation marks and citation omitted).

      B.    The   Commissioner’s       Five-Step   Analysis   of   Disability

            Claims

            A claimant is disabled under the Act when he is unable

“to engage in any substantial gainful activity by reason of any

medically determinable physical or mental impairment which can be

expected to result in death or which has lasted or can be expected

to last for a continuous period of not less than 12 months.” 42

U.S.C. § 423(d)(1)(A). The impairment must be of “such severity”

that the claimant is “not only unable to do his previous work but

cannot,    considering    his   age,    education,    and   work   experience,

engage in any other kind of substantial gainful work [that] exists

in the national economy . . . .” Id. § 423(d)(2)(A).

            The      Commissioner      uses   a      “five-step    sequential

evaluation” to determine whether a claimant is disabled. 20 C.F.R.

§ 404.1520(a)(1); see also Perez v. Chater, 77 F.3d 41, 46 (2d.

Cir. 1996) (describing five-step process). Under this process,

      if the Commissioner determines (1) that the claimant is
      not working, (2) that he has a ‘severe impairment,’ (3)
      that the impairment is not one [listed in Appendix 1 of
      the   regulations]   that   conclusively   requires   a
      determination of disability, and (4) that the claimant
      is not capable of continuing in his prior type of work,
      the Commissioner must find him disabled if (5) there is
      not another type of work the claimant can do.




                                       29
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 30 of 52 PageID #: 734



Green-Younger        v.    Barnhart,    335       F.3d   99,      106    (2d   Cir.     2003)

(internal quotation marks and citation omitted).

             “The claimant has the general burden of proving that he

or she has a disability within the meaning of the Act.” Burgess v.

Astrue, 537 F.3d 117, 128 (2d Cir. 2008). The claimant “bears the

burden of proving his or her case at steps one through four.” Id.

(internal quotation marks and citation omitted). At step five,

however, if the claimant cannot perform her past work, “the burden

shifts to the Commissioner to show that in light of the claimant’s

[residual     functional        capacity],           age,        education,      and    work

experience, the claimant ‘is able to engage in gainful employment

within the national economy.’” Marchetti v. Colvin, No. 13-CV-

02581, 2014 WL 7359158, at *10 (E.D.N.Y. Dec. 24, 2014) (citing

Sobolewski v. Apfel, 985 F. Supp. 300, 310 (E.D.N.Y. 1997)).

II.   Application

      A.     The ALJ’s Decision

             After reviewing this evidence, the ALJ in this case

issued the decision under review on December 30, 2011. (Tr. 319.)

The   ALJ    first    concluded       that        plaintiff       had   not    engaged    in

substantial gainful activity since May 1, 1989. (Tr. 313.) At the

second step, the ALJ determined that during the Development Period

plaintiff    had     the     severe    impairments          of    cervical     and     lumbar

degenerative       disc    disease     and    post-traumatic            stress   disorder.

(Id.)   At   the     third    step,    the    ALJ     concluded         that   plaintiff’s


                                             30
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 31 of 52 PageID #: 735



impairments did not meet or medically equal a listed impairment.

(Tr. 313-14.) At the fourth step, the ALJ determined plaintiff’s

residual functional capacity, evaluating both his physical and

mental limitations. (Tr. 314-17.)

         Despite his impairments, the ALJ concluded that plaintiff

could perform light work. (Tr. 314.) He could lift up to 20 pounds

occasionally and 10 pounds frequently; stand and/or walk up to six

hours in an eight-hour workday; sit for approximately six hours in

an eight-hour workday with normal breaks; occasionally climb,

balance, kneel, stoop, crouch, or crawl. (Id.) Plaintiff had no

manipulative, environmental, visual or communicative limitations,

the ALJ determined, but he was limited to a low-stress job with

only occasional decision-making, changes in the work environment,

and interaction with the public. (Id.) Based on this assessment

and the testimony of the vocational expert, the ALJ found at step

four that plaintiff could not perform his past relevant work as an

EMT or orderly. (Tr. 317.)

           However, at step five the ALJ concluded that plaintiff

could perform other light work that existed in significant numbers

in the national economy. (Tr. 317-18.) After reviewing plaintiff’s

personal and medical history, the ALJ concluded that plaintiff’s

post-traumatic stress disorder was not disabling. (Tr. 315-17.)

The ALJ credited Dr. Travis’s observation that plaintiff had a

normal   neurological    examination      and   Dr.   Hahn’s   opinion   that


                                     31
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 32 of 52 PageID #: 736



plaintiff could perform simple manual work, and gave little weight

to Dr. Goldstein’s opinion that plaintiff was disabled due to

dysthymic disorder. (Tr. 317.) The ALJ also relied on plaintiff’s

“minimal to non-existent psychiatric treatment” prior to his date

last insured, and the absence in his medical record of psychotropic

medication. (Tr. 315-16.)

            In    evaluating     plaintiff’s          cervical      and      lumbar

degenerative disc disease, the ALJ noted that plaintiff was only

35 years old at the time of his date last insured. (Tr. 316.) He

pointed to Dr. Reitberg’s opinion that plaintiff had only moderate

neck and back problems, Dr. Travis’s opinion that plaintiff had a

“normal neurological examination,” the absence of any surgical

history,    no    psychiatric     hospitalizations,           and     a   one-day

hospitalization following a 1989 motor vehicle accident. (Tr. 315-

16.) The ALJ did not find plaintiff fully credible because his

testimony   was   contradicted     by    medical   evidence      in    the   file,

including CT scans performed in 1986. (Tr. 316.)

            The ALJ accorded no weight to treating chiropractor Dr.

Whittaker because her findings were inconsistent with medical

evidence in the file and sometimes with her own findings, and

because she was not an “acceptable medical source” within the

meaning of 20 C.F.R. § 404.1513(d) and 20 C.F.R. § 416.913(d).

(Tr.   316-17.)   The   ALJ    similarly     stated    that   Dr.     Polepalli’s

statement about plaintiff’s disability was not supported by the


                                        32
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 33 of 52 PageID #: 737



medical record. (Tr. 317.) The ALJ therefore found plaintiff not

disabled during the Development Period. 7 (Tr. 31.)

      B.    The Vocational Expert’s Testimony About Employment
            Numbers During the Stieberger Development Period Was
            Grounded in Evidence

            Plaintiff first argues that the vocational expert did

not provide any basis for her opinion that the jobs she described

existed during plaintiff’s Stieberger Development Period (May 1,

1989 through August 31, 1998). (See Pl. Mot at 4.)

            Plaintiff contends that “the Administrative Law Judge

did not inquire as to the basis for the vocational expert’s opinion

that such jobs existed in the numbers provided so many years ago.”

(Pl. Mot. at 4.) Plaintiff appears to argue both that the VE

misunderstood the relevant time period and that, even if she did

understand,    she    failed    to   adequately    support     her   opinion.

Defendant responds first by noting that plaintiff, although he had

counsel before both the ALJ and the Appeals Council, never objected

to the VE’s testimony. (Def. Reply at 7.) Defendant also contends

that the VE did in fact testify about jobs numbers pertaining to




7 At the time of the ALJ’s decision in this case, plaintiff was receiving SSI
benefits. (Tr. 478.) In his decision, the ALJ appears to have mistakenly stated
that plaintiff was not entitled to SSI through the date of the ALJ’s decision
rather than through the end of the Stieberger Development Period. (Tr. 319.)
However, there is no evidence in the record that plaintiff’s SSI benefits were
ever terminated, Defendant stated that plaintiff’s SSI benefits were never
terminated, and plaintiff did not dispute this statement in his cross-motion.
(Def. Mem. at 6 n.8.) Accordingly, the court will not address plaintiff’s
arguments concerning a “purported SSI cessation.” (Pl. Mot. at 4.)


                                      33
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 34 of 52 PageID #: 738



the Development Period and that she explicitly stated the source

of her figures. (Id. at 8.)

            During her testimony, the ALJ did not explicitly ask the

vocational    expert        whether    her    opinions       about     the    plaintiff’s

employment    possibilities           referred     to    the    Development         Period.

However,    it    is   clear     from       the   hearing      transcript       that     the

vocational expert recognized that the relevant window for purposes

of her testimony was the Development Period.

            First,      the    VE     testified       that      she    relied       on   the

“Dictionary of Occupational Titles” in forming her opinions about

employment       possibilities         in     this      case.     (Tr.       499.)       This

publication, which was printed by the U.S. Department of Labor,

was last updated in 1991. See United States Department of Labor,

Dictionary       of    Occupational          Titles     (4th     ed.,        rev.    1991),

http://www.oalj.dol.gov (“The Dictionary of Occupational Titles

(DOT) was created by the Employment and Training Administration,

and was last updated in 1991.”); see also Winkler v. Comm'r, Soc.

Sec. Admin., No. CIV. 14-2720, 2015 WL 4069334, at *4 n.3 (D. Md.

July 2, 2015) (“The VE relied on the Dictionary of Occupational

Titles     (‘DOT’),     a    document       published     by     the     United      States

Department of Labor and last updated in 1991.”); Downes v. J.P.

Morgan Chase & Co., No. 03 CIV. 8991, 2007 WL 1468218, at *11 n.10

(S.D.N.Y. May 16, 2007) (“[T]he DOL's Dictionary of Occupational

Titles (“DOT”) was last updated in 1991 . . . .”). If the data on


                                             34
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 35 of 52 PageID #: 739



which the VE relied came from 1991, which was well within the

Development Period, it is highly unlikely that the VE misunderstood

the relevant window of time in this case. Her reliance on this

source also demonstrates that her testimony was well-founded.

             Second, the VE specifically stated that she had been

listening throughout the short hearing (the transcript is just

over 20 pages (Tr. 478-500)), during which the ALJ stated that

“the period we’re looking at that [I’m] probably most interested

in is during the 1980s and 1990s.” (Tr. 482, 492.) Finally, the VE

also   asked   the   claimant   questions   about   the   time   period   in

question. (Tr. 492-93.) Consequently, plaintiff’s argument that

the VE misunderstood the relevant time period or did not have an

adequate source for her figures is unfounded.

       C.    The Consulting Psychiatrist’s Failure to Provide a List
             of Medical Records He Reviewed Does Not Warrant Remand

             Plaintiff next argues that the ALJ failed to list the

documents provided to psychiatrist Dr. Jung Hahn at the time of

his consultative examination. (Pl. Mot. at 4.) Defendant responds

that no statute, regulation, or decision compels such a disclosure

and that even if the ALJ did err by failing to provide such a list,

plaintiff does not argue that any prejudice resulted. (Def. Reply

at 2-4.) 8


8 Plaintiff argues relatedly that the ALJ mistakenly referred to Dr. Hahn as
Dr. Slowe. (Pl. Mot. at 4.) Although the ALJ did in fact repeatedly make this
mistake, the most likely explanation is that Dr. Hahn submitted his report to
Dr. I. Arnold Slowe, M.D., the chief medical consultant at the Division of


                                     35
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 36 of 52 PageID #: 740



             The ALJ did rely repeatedly on Dr. Hahn’s consultative

examination, performed in October 1998 (see Tr. 390-92), to support

his    conclusion   that    plaintiff’s    alleged   post-traumatic    stress

disorder was not disabling during the Development Period. (Tr.

315-17.) Pursuant to 20 C.F.R. § 404.1513 and 20 C.F.R. § 416.913,

the ALJ accorded Dr. Hahn’s opinion “great weight . . . since it

[was] supported by a record showing that by the mid-to-late 1990s

the claimant’s minimal spinal functional limitations had improved

and his objective mental testing has always been normal.” (Tr.

317.) Neither the ALJ’s decision nor Dr. Hahn’s report indicates

the documentation with which Dr. Hahn was provided at the time of

his consultation.

             However, plaintiff cites no statute, regulation, or case

(in this circuit or another) requiring such enumeration and the

court has not been able to locate one. The regulations provide

that    a   comprehensive    consultative    report    should   include    the

plaintiff’s primary complaints, a description of the history of



Disability Determinations. (Tr. 315-17, 390.) This probable typo had no
substantive impact on the ALJ’s analysis, and certainly does not call for a
remand. See Johnson v. Colvin, No. 13-CV-1455, 2014 WL 3809106, at *5 (D. Colo.
Aug. 1, 2014) (“[The] fact that the ALJ used the wrong name to refer to [a
consulting physician] does not require remand.”); Davis v. Astrue, No. CIV. A.
H-10-4770, 2012 WL 9392188, at *4 n.72 (S.D. Tex. Feb. 3, 2012) (“Nevertheless,
any error by the ALJ in referring to the doctor by the wrong name is harmless
because the error, if any, does not affect the substance of the report upon
which the ALJ relied . . . .”), adopted by Davis v. Astrue, No. CIV. A. H-10-
4770 (S.D. Tex. Feb. 21, 2012), ECF No. 11.




                                      36
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 37 of 52 PageID #: 741



those complaints, examination findings, the results of laboratory

or other tests, a diagnosis and prognosis, and a statement about

the individual’s abilities despite his impairments. See 20 C.F.R.

§ 404.1519n(c); 20 C.F.R. § 416.919n. Dr. Hahn complied with these

requirements. (See Tr. 390-92.)

            On the other hand, although plaintiff fails to cite to

any applicable law in support of his position on this issue, the

court recognizes that the regulations do require that a consulting

physician be provided with “any necessary background information

about [a claimant’s] condition.” 20 C.F.R. § 416.917; see also 20

C.F.R.   § 404.1517.     But    this   language    does   not    amount   to    a

requirement that every consulting physician be provided with all

of   a   claimant’s     medical   records    and   history      (much   less   a

requirement that the physician report that she viewed every, or

any, document in the record). See Genovese v. Astrue, No. 11-CV-

02054, 2012 WL 4960355, at *18 (E.D.N.Y. Oct. 17, 2012) (“The SSA’s

statement that an examiner must be given ‘necessary background

information     about    [a    claimant's]    condition,’       20   C.F.R.    §§

404.1517, 416.917, does not mandate that ‘the examiner must be

provided with plaintiff's medical records,’ as plaintiff asserts

it does.”). 9


9 Some district courts outside of this circuit have effectively held that
consulting physicians must be provided with all of a claimant’s medical records.
See Mateer v. Bowen, 702 F. Supp. 220, 222 (S.D. Iowa 1988) (“Furthermore, the
court would indicate to the Secretary that it should always provide all medical
records to any physician from whom he solicits an opinion regarding any social


                                       37
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 38 of 52 PageID #: 742



               Although there is no indication in Dr. Hahn’s report

that     he    was    provided     background     medical       information    about

plaintiff, there is similarly no indication that he was not.

Without       any    evidence    that   Dr.    Hahn    lacked    adequate     medical

background on plaintiff and nothing but a single unsupported

sentence in plaintiff’s brief addressing this issue, the court

will not remand on this ground.

       D.      The ALJ’s Conclusion that Plaintiff’s Mental Health
               Issues Were Not Disabling Was Supported By Substantial
               Evidence

               Plaintiff next argues that the ALJ relied upon his own

“unqualified         psychiatric    opinion     that    Dysthmia     cannot    be   a

disabling condition.” (Pl. Mot. at 4.) He contends that this

conclusion is undermined by psychiatrist Dr. Goldstein’s report

and by the recently updated Diagnostic and Statistical Manual of

Mental      Disorders,     which    replaced     dysthymia       with   “persistent

depressive disorder.” (Id.; see also Diagnostic and Statistical

Manual of Mental Disorders 169-70 (5th ed. 2013) (“DSM”).)

               Defendant responds that the ALJ considered evidence of

plaintiff’s mental health issues, but appropriately accorded Dr.

Goldstein’s report little weight. (Def. Reply at 3-5.) Defendant

also notes that multiple other consulting physicians failed to



security case.”); see also Pruitt v. Astrue, No. EDCV 08-1107, 2010 WL 1330164,
at *5 (C.D. Cal. Mar. 31, 2010). But the language of the relevant regulation
does not extend so far. “Necessary background information,” 20 C.F.R. § 416.917;
20 C.F.R. § 404.1517, plainly does not specify “all medical records.”


                                          38
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 39 of 52 PageID #: 743



diagnose serious mental health problems and that plaintiff’s own

history undermines his theory that his dysthymia was disabling.

(Id. at 4-5.)

           The ALJ concluded that plaintiff suffered from post-

traumatic stress disorder, a severe impairment. (Tr. 313; see also

20   C.F.R.    § 404.1520(c);     20   C.F.R.     § 416.920(c).)   The   ALJ,

however, determined that this would not preclude him from working.

(Tr. 314-17.) The ALJ relied upon Dr. Travis’s observation that

plaintiff’s neurological functioning was normal and Dr. Hahn’s

opinion that plaintiff could perform simple manual work, giving

both consulting physicians’ opinions “great weight.” (Tr. 317.) In

addition, the ALJ cited Dr. Sharma’s finding that plaintiff had a

“normal mental status.” (Tr. 315.) The ALJ also determined that

plaintiff had not taken “psychological-related medication” 10 or

experienced any psychiatric hospitalizations, and received minimal

to no psychiatric treatment. (Tr. 315-16.)

              The   ALJ   did   address     Dr.   Goldstein’s   consultative

psychiatric report. (Tr. 317.) In that report, Dr. Goldstein stated

that plaintiff was unable to work due to dysthymic disorder. (Tr.

533-37.) But the ALJ gave Dr. Goldstein’s opinion “little weight”

because the report appeared to be rooted principally in subjective



10The record reveals, however, that plaintiff — at least according to his own
written statements about his medical history — at one time was prescribed
Prozac. (Tr. 539; United States v. Sasso, 59 F.3d 341, 347 (2d Cir. 1995)
(recognizing that Prozac is an antidepressant).)


                                       39
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 40 of 52 PageID #: 744



complaints rather than objective evidence. (Tr. 317.) The ALJ

explained that Dr. Goldstein did not have a treating relationship

with the claimant, and stated that “dysthymia is not a disabling

condition, but by its very nature is considered a low-level form

of depression.” (Id.)

              The court concludes that the ALJ’s decision with respect

to    plaintiff’s        alleged     post-traumatic       stress    disorder      was

supported by substantial evidence. As an initial matter, the only

diagnosis of dysthymia came from Dr. Goldstein. It was reasonable

for the ALJ to grant little weight to the opinion of a single

physician who apparently met with plaintiff only a single time and

who provided a diagnosis distinct from that of the many other

physicians (both treating and consulting) who met with plaintiff

during the Development Period. (Tr. 533)

              In    addition,      even    recognizing    that   there    was     some

evidence of mental health issues besides Dr. Goldstein’s report

(see Tr. 73-75, 294-95, 298 (plaintiff’s testimony about his

depression); Tr. 539 (plaintiff’s statement that he took Prozac in

1995)), there was substantial evidence in the record supporting

the   ALJ’s    conclusion.       Neurologist      Dr.    Travis’s   mental    status

examination        in   February    1992    showed   that     plaintiff’s    “remote

memory,    language        and     calculations      [were]     intact”     and   his

neurological examination was normal. (Tr. 227-28.) Psychiatrist

Dr. Hahn did not diagnose any mental health issues using the multi-


                                            40
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 41 of 52 PageID #: 745



axial system of assessment. 11 (Tr. 392.) Plaintiff reported to Dr.

Polepalli in August and December 1990 that he was a student in a

Caribbean medical program returning home for the holidays. (Tr.

237-38.) Further, two of plaintiff’s treating physicians stated

toward the end of the Development Period that plaintiff could

return to work; in one of these cases, the note is addressed to

Brooklyn Union Gas Company, possibly plaintiff’s employer at that

time. (Tr. 379, 386.) Finally, as the ALJ recognized, plaintiff

had a “minimal to nonexistent” history of psychiatric treatment.

(Tr. 316.) A “reasonable mind might accept [this] as adequate to

support” the conclusion that plaintiff’s post-traumatic stress

disorder was not disabling. Richardson, 402 U.S. at 401.

              The court recognizes that the newest version of the DSM

— which, incidentally, was released after the ALJ’s decision in

this case — indicates that dysthymia (now classified as “persistent

depressive disorder”) is perhaps a more serious mental disorder

than its initial classification suggested. See DSM 168-71; cf.

Ingram   v.    Barnhart,   72   F.   App’x   631,   635   (9th   Cir.   2003)



11In this system adopted in an earlier version of the DSM, each axis refers to
a distinct domain of information that may help clinicians plan and predict
outcomes for mental disorders. See Fonseca v. Colvin, No. 12 CIV. 5527, 2014 WL
297488, at *6 n.10 (S.D.N.Y. Jan. 28, 2014) (citation omitted). “Axis I refers
to clinical disorders and other conditions that may be a focus of clinical
attention; Axis II refers to personality disorders and mental retardation; Axis
III refers to general medical conditions.” Id. Dr. Hahn did not diagnose any
issues on the first two axes, but found generalized muscle aches on the third
axis. (Tr. 392.)




                                      41
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 42 of 52 PageID #: 746



(unpublished) (“As the ALJ did not identify [the claimant’s]

dysthymia or panic disorder as severe impairments, he necessarily

did not fully consider the effects of the combination of [her]

severe     impairments.”).      However,     the     ALJ’s’s       statement    that

dysthymia is a “low-level form of depression,” while perhaps an

inartful way to describe a serious psychological condition, is not

entirely dissonant with the description provided in other medical

sources.    See    Mayo    Clinic,   Diseases      and    Conditions:       Dysthmia,

http://www.mayoclinic.org/diseases-

conditions/dysthymia/basics/definition/con-20033879

(characterizing dysthmia as “a mild but long-term (chronic) form

of   depression”);     Dorland's     Illustrated         Medical   Dictionary    550

(32nd ed. 2012) (noting that symptoms of dysthymic disorder can

persist “for more than two years but are not severe enough to meet

the criteria for major depressive disorder”).

            In fact, the ALJ credited plaintiff’s mental health

problems    by    recognizing    that   he   suffered       from     post-traumatic

stress disorder. (Tr. 315.) That he determined the disorder was

not disabling does not establish that the ALJ did not consider

plaintiff’s       mental    health   concerns.      (Tr.      313,    316    (“[T]he

claimant’s       alleged    post-traumatic      disorder       was     taken    into

consideration in the above residual functional capacity to give

the claimant every benefit of the doubt with respect to his claim

for disability benefits.”).) Consequently, the court concludes


                                        42
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 43 of 52 PageID #: 747



that substantial evidence supported the ALJ’s determination that

plaintiff’s mental health issues were not disabling.

      E.   The ALJ’s Limited Discussion of Dr. C. Sharma’s Report
           Does Not Warrant Remand

           Plaintiff next argues that consideration of neurologist

Dr. C. Sharma’s report was impermissible because Dr. Sharma never

appeared for cross-examination at an earlier proceeding. (Pl. Mot.

at 5.) Defendant argues that the report could permissibly be

considered but alternatively that even disregarding the report,

substantial    evidence    supports    the   ALJ’s   residual    functional

capacity finding. (Def. Reply at 4-5.)

           Dr. Sharma’s disputed report has a somewhat tortured

backstory. The report was drafted in July 1990 based on a June

1990 exam. (Tr. 183-86.) Dr. Sharma determined that plaintiff had

no neurological impairment and a normal spine, and stated that

plaintiff had no physical restrictions. (Tr. 185-96.) Because Dr.

Sharma did not appear for cross-examination, a prior ALJ decision

relying on his report was remanded in a December 1992 district

court decision. (Tr. 244.) But the central concern here is the

effect of a July 2011 Appeals Council decision that determined the

claimant’s May 30, 2008 redetermination by the SSA pursuant to

Stieberger was “a new determination” because “the facts and issues

have changed.” (Tr. 425.) In that decision, the Appeals Council




                                      43
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 44 of 52 PageID #: 748



held that “res judicata is not applicable for the period of May 1,

1989 through August 31, 1998.” (Id.)

           This determination permitted plaintiff a hearing before

the ALJ who rendered the decision at issue in this case. In his

decision, the ALJ’s only consideration of Dr. Sharma’s report came

in a single sentence in a section detailing plaintiff’s medical

history. (Tr. 315.) The ALJ stated:

      Dr. C. Sharma wrote in a June 23, 1990 independent
      examination report that the claimant had no neurological
      deficits; used a cane but did not need one to ambulate;
      had a normal mental status; and his skull and spine were
      normal.
(Id.) Dr. Sharma’s opinion was not further employed by the

ALJ to buttress any of his conclusions.

           The   parties    have   inadequately        briefed   the    issue    of

whether the district court’s December 1992 decision excluding Dr.

Sharma’s    report   from    consideration       (to    the   extent     of     his

unavailability for cross-examination) remained applicable after

the Appeals Council’s July 2011 remand. But it is unnecessary to

untangle   the   complex    procedural    knot    generated      here    by     the

interplay between the decades’ worth of decisions rendered on

plaintiff’s    entitlement    to   social    security      benefits     and     the

Stieberger settlement. Even assuming the ALJ’s consideration of

the report was impermissible, the error was harmless. See McIntyre

v. Colvin, 758 F.3d 146, 148, 152 (2d Cir. 2014) (applying harmless

error test in social security context); Social Security Disability



                                     44
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 45 of 52 PageID #: 749



Law & Procedure in Federal Court § 9:56 (collecting social security

cases applying harmless error analysis).

               Here, it could hardly be said that the ALJ relied on Dr.

Sharma’s report. The only citation to the report appears in the

above-quoted single sentence and is not used directly to support

any of the ALJ’s conclusions. (Tr. 315.) In addition, the portion

of Dr. Sharma’s report noted by the ALJ was duplicative of — and

indeed far less damaging to plaintiff’s claim than — consulting

neurologist Dr. Travis’s report, which suggested that plaintiff

was feigning his disability. (See Tr. 227 (noting “voluntary

restriction of movement in all directions” during examination of

neck and lumbar spine; characterizing plaintiff’s gait as “very

slow and somewhat bizarre” with alternate favoring of his left and

right leg; and stating that examining physician was unable to

detect       “any   organic     disturbance       to   his   gait”);    id.   at   228

(observing that plaintiff refused an x-ray).) Thus, if it was error

for    the    ALJ   to    mention     Dr.   Sharma’s    report,    such   error    was

harmless. See McIntyre, 758 F.3d at 152; Zabala v. Astrue, 595

F.3d    402,    409      (2d   Cir.   2010)      (finding    harmless   error   where

improperly “excluded evidence [was] essentially duplicative of

evidence considered by the ALJ”); Walzer v. Chater, No. 93 Civ.

6240, 1995 WL 791963, at *9 (S.D.N.Y. Sept. 6, 1995) (holding error

harmless where ALJ failed to discuss a treating physician’s report

because consideration of report would not have changed outcome).


                                            45
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 46 of 52 PageID #: 750



      F.    The ALJ’s Decision to Give No Weight to Chiropractor Dr.
            Whittaker’s Opinion Was Reasonable

            Plaintiff’s final argument is that the ALJ improperly

accorded no weight to chiropractor Dr. Whittaker’s reports because

she was not an “acceptable medical source” within the meaning of

20 C.F.R. § 404.1513(a) and 20 C.F.R. § 416.913(a). (Pl. Mot. at

5;    see     also      20     C.F.R.          § 404.1527(a)(2);           20     C.F.R.

§ 416.927(a)(2).) Defendant agrees that the ALJ accorded no weight

to Dr. Whittaker’s opinions, but argues that the ALJ’s decision

was justified because “[Dr. Whittaker’s] objective findings did

not support her opinion that plaintiff was unable to perform any

work.” (Def. Mot. at 1-2.)

            When     evaluating      a    claimant’s       disability,          the   ALJ

performs a two-step analysis. First, the plaintiff must show a

medically determinable impairment, which must be supported by

evidence    from     “acceptable     medical         sources.”     E.g.,    20    C.F.R.

§ 404.1513(a).       Second,    assuming         a     plaintiff     has    shown     an

impairment,    the    ALJ    must    assess      the    severity    and     functional

limitations of such impairments; in this inquiry, the ALJ can look

to “other sources.” E.g., 20 C.F.R. § 404.1513(d).

            Chiropractors      are       not    “acceptable      medical        sources”

qualified to opine about the existence or non-existence of a

disability, but they are “other sources” whose opinions can be

considered in evaluating the severity of a disability. See SSR 06-



                                          46
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 47 of 52 PageID #: 751



03p, 2006 WL 2329939 (Aug. 9, 2006) (including chiropractors in a

list     of    acceptable    “other   sources”    within       the   meaning   of

§§ 404.1513(d) and 416.913(d)); see also Weather v. Astrue, No.

6:11–CV–00890 (N.D.N.Y. Nov. 5, 2012), ECF No. 18 (“Although [a

chiropractor] is not considered an ‘acceptable medical source’

under    the    Social   Security     Regulations,      his    opinion   may   be

considered         as       to    the        severity         of     Plaintiff's

impairments . . . .”), adopted by Weather v. Astrue, 32 F. Supp.

3d 363, 378 (N.D.N.Y. 2012); Losquadro v. Astrue, No. 11-CV-1798,

2012 WL 4342069, at *14 (E.D.N.Y. Sept. 21, 2012) (“Although a

chiropractor does not qualify as an ‘acceptable medical source’

and thereby cannot establish a medical impairment, a chiropractor

is listed as an ‘other source,’ whose opinion should be considered

in step two of the analysis.”).

              The weight to be accorded a chiropractor’s opinion is a

frequently litigated issue. See Social Security Disability Law &

Procedure in Federal Court § 2:25 (collecting cases). In this

circuit, in accordance with the regulations, ALJs are permitted to

take a chiropractor’s opinion into account, though they are not

required to do so. See Diaz v. Shalala, 59 F.3d 307, 314 (2d Cir.

1995) (granting ALJs “discretion to determine the appropriate

weight to accord the chiropractor’s opinion based on all the

evidence”); Poole v. R.R. Ret. Bd., 905 F.2d 654, 662 (2d Cir.

1990).


                                        47
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 48 of 52 PageID #: 752



               Although the Second Circuit has not so held, these

precedents strongly suggest that an ALJ cannot refuse to assign

any weight to a chiropractor’s opinion solely on the basis that

the    chiropractor         is     not    an    “acceptable      medical       source.”       See

Losquadro, 2012 WL 4342069, at *16 (“[A]lthough an ALJ has the

discretion to assign little weight to a chiropractor’s opinion,

the ALJ cannot do so solely because a chiropractor is not an

acceptable medical source, but rather must still consider the

opinion    as       an    ‘other     source’          under    the    applicable        rules.”

(collecting cases)); see also Sanfilippo v. Astrue, 274 F. App’x

551,     553    (9th        Cir.     2008)          (remanding       where     ALJ     rejected

chiropractor’s opinion exclusively on the grounds that he was not

an “acceptable medical source”); 3 Soc. Sec. Law & Prac. § 37:87.

               In       determining           how     much     weight        to      accord    a

chiropractor’s opinion, an ALJ may consider:(i) how long the source

has known the plaintiff and the frequency of treatment; (ii) how

consistent the opinion is with other evidence; (iii) the degree to

which the source presents relevant evidence to support an opinion;

(iv) how well the source explains the opinion; (v) whether the

source    has       a    specialty       or    area    of    expertise       related    to    the

individual’s impairment; and (vi) any other factors that tend to

support or refute the opinion. See S.S.R. 06-03p.

               Here, plaintiff contends that the ALJ gave “no weight”

to Dr. Whittaker’s opinion exclusively because she was not an


                                                 48
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 49 of 52 PageID #: 753



“acceptable medical source.” (Pl. Mot. at 5.) A closer look at the

opinion   reveals        otherwise.   While     the   ALJ   did    state    that    Dr.

Whittaker was not an “acceptable medical source,” he considered

and   then   discredited        her   opinion    because     her     findings      were

“inconsistent with the medical evidence in the file” and at times

even with her own findings. (Tr. 316.)

             Dr.    Whittaker      treated    plaintiff     during    two   isolated

phases of the Development Period, though she had treated him for

some time during the early 1980s as well. 12 In July 1989, although

she stated that plaintiff had total spinal impairment, she also

stated    that     he    was   capable   of   performing     semi-sedentary         and

sedentary work. (Tr. 148.) In addition, in May 1990 Dr. Whittaker

reported that plaintiff was working (Tr. 147) and in June 1989 she

noted that plaintiff had full ranges of motion in almost all

extremities, albeit with some pain. (Tr. 143.) Dr. Whittaker

examined plaintiff on January 4, 1991, and treated him on January

5 and 25, 1991. (Tr. 215-16, 220.) At that time, she characterized

plaintiff     as        “totally   disabled.”     (Tr.      220.)     It    was    not

inappropriate for the ALJ to take inconsistencies like these into

account. See Michels v. Astrue, 297 F. App'x 74, 76 (2d Cir. 2008)

(“‘Consistency’ is a factor in deciding the weight accorded to any




12
  Dr. Whittaker also treated plaintiff from February through November
1987, and from June 1988 to August 1989. (Tr. 218.)


                                         49
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 50 of 52 PageID #: 754



medical opinion.” (citing 20 C.F.R. § 404.1527(d)(4))); S.S.R. 06-

03p.

            During    this   same      general    timeframe      early    in   the

Development Period, plaintiff also conveyed to Dr. Polepalli that

he was attending “pre-med” or medical school in the Caribbean.

(Tr. 237-38.) See Gay v. Sullivan, 986 F.2d 1336, 1339 (10th Cir.

1993) (recognizing that school attendance “may be considered by

the Secretary, along with medical testimony, in determining the

right of a claimant to disability payments” (internal quotation

marks and citation omitted)); see also Giese v. Chater, 56 F.3d 67

n.4 (7th Cir. 1995) (unpublished) (same); Ewing v. Astrue, No.

5:11-CV-01418, 2013 WL 1213129, at *6-7, 10 (N.D.N.Y. Mar. 22,

2013) (considering college course work); Wellman v. Metlife Ins.

Co., 674 F. Supp. 2d 449, 452-54 (W.D.N.Y. 2009) (taking graduate

course work into account in evaluating plaintiff’s claim for

disability benefits under an ERISA plan). But see Cohen v. Sec’y

of Dept. of Health and Human Servs., 964 F.2d 524, 531 (6th Cir.

1992)    (reversing    denial     of   benefits    where   ALJ    found    school

attendance determinative because such evidence, while probative,

cannot   end   the    inquiry).     This     further   inconsistency      between

plaintiff’s claimed disability and his medical education supports

the ALJ’s decision to give no weight to Dr. Whittaker’s opinion.

            After a six-year break in treatment, Dr. Whittaker again

treated plaintiff toward the end of the Development Period in


                                        50
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 51 of 52 PageID #: 755



February 1997. (Tr. 321, 330, 380.) Plaintiff apparently returned

to Dr. Whittaker after a car accident on February 14, 1997. (Tr.

330.) Dr. Whittaker stated that it was not determinable whether

this accident would result in permanent disability, but she went

on to state that plaintiff had been permanently disabled since

March 1983. (Id.) This problematic inconsistency further supports

the ALJ’s determination to give Dr. Whittaker’s opinion no weight.

Additionally, two of plaintiff’s other treating physicians stated

in March 1997 – shortly after the February 1997 car accident – and

again in July 1998 that plaintiff could return to work. (Tr. 379,

386.) As noted earlier, one of these notes appears to be addressed

to an employer. (Tr. 379.) Accordingly, it was not unreasonable

for the ALJ to decide not to accord any weight to Dr. Whittaker’s

opinion.

                                CONCLUSION

           Substantial evidence supported the ALJ’s decision that

plaintiff was not disabled during the Development Period, either

due to his cervical and lumbar degenerative disc disease or due to

his post-traumatic stress disorder. Even if the court were inclined

to reach “a different result upon a de novo review,” the court may

not “substitute its own judgment for that of the Secretary.”

Williams, 859 F.2d at 258. For the foregoing reasons, Defendant’s

motion for judgment on the pleadings is GRANTED and plaintiff’s

cross-motion    is   DENIED.   The   Clerk   of   Court   is   respectfully


                                     51
Case 1:13-cv-03745-KAM Document 27 Filed 11/04/15 Page 52 of 52 PageID #: 756



requested to enter judgment in favor of Defendant and close the

case.

SO ORDERED


                                                 /s/
                                   Kiyo A. Matsumoto
                                   United States District Judge

DATED:   Brooklyn, New York
         November 4, 2015




                                     52
